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                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    UNITED STATES OF AMERICA,                             CASE NO. CR20-0027-JCC
10                            Plaintiff,                    MINUTE ORDER
11               v.

12    SHAWN CORY GREEN,

13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court sua sponte. As a result of the impact of the COVID-
18   19 pandemic in this district, the Court vacated the trial date in this matter and set a status hearing
19   for July 17, 2020. (See Dkt. No. 18.) The Court has repeatedly continued the hearing and, most
20   recently, struck the hearing scheduled for October 29, 2020. (See Dkt. Nos. 21, 22, 23, 27.) The
21   Court believes it would be able to try this case in early January 2021, based on current COVID-
22   19 conditions, without any potential impact on the health of all participant or the community.
23   Accordingly, the Court SETS a status hearing in this matter for 10 a.m. on October 27, 2020. The
24   hearing will proceed remotely via videoconference. The parties should be prepared to discuss,
25   during this hearing, their ability to try the case in early January 2021.
26          //


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 1         DATED this 21st day of October 2020.

 2                                                William M. McCool
                                                  Clerk of Court
 3
                                                  s/Tomas Hernandez
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                                                  Deputy Clerk
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